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                                        October 25, 2019

VIA CM/ECF FILING
The Honorable Kevin McNulty
United States District Judge for the District ofNew Jersey
Lautenberg U.S. Courthouse & Post Office
Newark, New Jersey 07102

       RE:     Case No. 2:19-cv-15975-KM-JBC; DISH Network L.L.C. and NagraStar LLC v.
               BimoTV, LLC, et al.; in the United States District Court for the District of New
               Jersey.

Dear Judge McNulty:

I, along with John Petriello and Chad Hagan, represent Plaintiffs DISH Network L.L.C. and
NagraStar LLC ("Plaintiffs") in the above-referenced matter. We are writing in connection with:
(1) the November 18,2019 hearing on Plaintiffs' Motion for Clerk's Entry of Default (Dkt. 14)
(hereinafter "Default Hearing"); (2) the November 12, 2019 hearing on the Order to Show Cause
on PlaintiIPs Application for Preliminary Injunction and Preservation Order @kt. 1-2, 1-3,3,
11) (hereinafter "OTSC Hearing"); and (3) Plaintiffs' ongoing efforts to personally serve
Defendant Fernandez Manuel DaRocha, individually and d/b,la SoITV (hereinafter "Defendant
DaRocha").

With respect to the Default Hearing, Plaintiffs are currently engaged in settlement negotiations
with Defendant Wilmy Jimenez. Plaintiffs anticipate that these negotiations should be complete
by early December 2019, and that these negotiations will also address the claims against
Defendants BimoTV, LLC and Magnum Support, LLC. If the settlement fails, Plaintiffs will
proceed with the default motion. Therefore, Plaintiffs respectfirlly request that your Honor hold
the Default Hearing in abeyance until December 16, 2019, or until a date thereafter that is
convenient for the Court,

With respect to the OTSC Hearing, based on the foregoing with respect to Defendants Wilmy
Jimenez, BimoTV, LLC, and Magnum Support, LLC, and because Plaintiffs are continuing with
their ongoing diligent efforts to personally serve Defendant DaRocha, at this time Plaintiffs
hereby withdraw, without preiudice to renewing sarne, their Order to Show Cause on Plaintiffs'
Application for Preliminary lnjunction and Preservation Order. Therefore, Plaintiffs respectfiily
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request that your Honor remove the OTSC hearing from the Court's calendar, without prejudice
to the same being reset at a later date.

With respect to Plaintiffs ongoing diligent ef[orts to sewe Defendant DaRoch4 Plaintiffs are
seeking private process service upon Defendant DaRocha in Canada under Rule 4(f)(1) of the
Federal Rules of Civil Procedure and Article 10(c) of the Hague Convention on the Service
Abroad of Judicial and Extrajudicial Documents. Rule 4(m) of the Federal Rules of Civil
Procedure, which provides for a 90-day service deadline unless good cause is shown, provides
that "[t]his subdivision (m) does not apply to service in a foreigrr country under Rule 4(f."
However, "Im]ost courts faced with a challenge to the timeliness of foreign service have applied
a 'flexible due diligence' standard to determine whether the delay should be excused." Lozano v.
Bosdet, 693 F.3d 485, 488-89 (5th Cir. 2012).

Here, Plaintiffs have engaged the services of both a process server and an investigator in Canada
and have made multiple service attempts at various addresses associated with Defendant
DaRoch4 including his SoITV business address. During a service attempt at the SoITV business
address, a SoITV representative indicated that Mr. DaRocha was not there. The service package
was left for him at that time. In a separate service attempt at a residence for Defendant DaRocha,
a neighbor indicated that the residents are Portuguese. This is consistent with that being a
residence for Mr. DaRocha given that he is believed to be Porhrguese and because SoITV was
directed to Portuguese customers. Plaintiffs have also emailed the service Package to Defendant
DaRocha at multiple email addresses of record for Defendant DaRocha.

Plaintiffs arc diligently seeking to effectuate service upon Defendant DaRocha. Defendant
DaRocha is undoubtedly aware of the case and has been provided access to the service
package-through the copy left with an agent at Defendant SoITV's business location and
through the copies sent to him directly via email. Plaintiffs wish to continue their efforts to
personally serve Defendant DaRocha before seeking altemative relief from this Court. Therefore,
based on the above, and pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, Plaintiffs
request that your Honor allow Plaintiffs an additional ninety (90) days to continue their efforts to
personally serve Defendant DaRocha before Plaintiffs are required to seek further relief from this
Court.

ln summary, based on the foregoing, PlaintifFs respectfi.rlly request:

      1.   That your Honor hold the Default Hearing in abeyance until December 31, 2019, or until
           a date thereafter that is convenient for the Court;


      2.   That your Honor remove the OTSC Hearing from the Court's calendar, without prejudice
           to the same being reset at a later date; and

      3.   That your Honor allow Plaintiffs an additional ninety (90) days to continue their efforts to
           personally serve Defendant DaRocha before Plaintiffs are required to seek furtler relief
           from this Court.
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Thank you for your consideration.

                                         Sincerely,


                                         -'-=-D-/
                                         Jeffrey L. Befort

c:     John J. Petriello
       EMich, Petriello, Gudin, &Plaza
